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16   Plaintiﬀs and the Proposed Class
17
18                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
19                                SAN FRANCISCO DIVISION
20
21   Abdi Nazemian, an individual;                      Case No.
     Brian Keene, an individual; and
22   Stewart O’Nan, an individual;                      Complaint
23          Individual and Representative Plaintiffs,   Class Action
24          v.                                          Demand for Jury Trial
25
     NVIDIA Corporation, a Delaware corporation;
26
                                         Defendant.
27
28
30
31                                                 complaint
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1           Plaintiﬀs Abdi Nazemian, Brian Keene, and Stewart O’Nan (together “Plaintiﬀs”), on behalf of
2    themselves and all others similarly situated, bring this class-action complaint (“Complaint”) against
3    defendant NVIDIA Corporation (“NVIDIA” or “Defendant”).
4
5                                                OVERVIEW
6           1.      Artificial intelligence—commonly abbreviated “AI”—denotes software that is designed
7    to algorithmically simulate human reasoning or inference, often using statistical methods.
8           2.      A large language model is an AI software program designed to emit convincingly
9    naturalistic text outputs in response to user prompts. NeMo Megatron–GPT (“NeMo Megatron”) is a
10   series of large language models created by NVIDIA and released in September 2022.
11          3.      Rather than being programmed in the traditional way—that is, by human programmers

12   writing code—a large language model is trained by copying an enormous quantity of textual works,
13   extracting protected expression from these works, and transforming that protected expression into a
14   large set of numbers called weights that are stored within the model. These weights are entirely and
15   uniquely derived from the protected expression in the training dataset. Whenever a large language
16   model generates text output in response to a user prompt, it is performing a computation that relies on
17   these stored weights, with the goal of imitating the protected expression ingested from the training

18   dataset.
19          4.      Plaintiﬀs and Class members are authors. They own registered copyrights in certain
20   books that were included in the training dataset that NVIDIA has admitted copying to train its NeMo
21   Megatron models. Plaintiﬀs and Class members never authorized NVIDIA to use their copyrighted
22   works as training material.
23          5.      NVIDIA copied these copyrighted works multiple times to train its NeMo Megatron
24   language models.
25
26                                   JURISDICTION AND VENUE
27          6.      This Court has subject-matter jurisdiction under 28 U.S.C. § 1331 because this case
28   arises under the Copyright Act (17 U.S.C. § 501).
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1            7.       Jurisdiction and venue are proper in this judicial district under 28 U.S.C. § 1391(c)(2)
2    because NVIDIA is headquartered in this district. NVIDIA created the NeMo Megatron models and
3    distributes them commercially. Therefore, a substantial part of the events giving rise to the claim
4    occurred in this District. A substantial portion of the aﬀected interstate trade and commerce was
5    carried out in this District. Defendant has transacted business, maintained substantial contacts, and/or
6    committed overt acts in furtherance of the illegal scheme and conspiracy throughout the United States,
7    including in this District. Defendant’s conduct has had the intended and foreseeable eﬀect of causing
8    injury to persons residing in, located in, or doing business throughout the United States, including in
9    this District.
10           8.       Under Civil Local Rule 3-2(c), assignment of this case to the San Francisco Division is
11   proper because this case pertains to intellectual-property rights, which is a district-wide case category

12   under General Order No. 44, and therefore venue is proper in any courthouse in this District.
13
14                                                PLAINTIFFS
15           9.       Plaintiﬀ Abdi Nazemian is an author who lives in California. Mr. Nazemian owns
16   registered copyrights in multiple books, including Like a Love Story.
17           10.      Plaintiﬀ Brian Keene is an author who lives in Pennsylvania. Mr. Keene owns registered

18   copyrights in multiple books, including Ghost Walk.
19           11.      Plaintiﬀ Stewart O’Nan is an author who lives in Pennsylvania. Mr. O’Nan owns
20   registered copyrights in multiple books, including Last Night at the Lobster.
21           12.      A nonexhaustive list of registered copyrights owned by Plaintiﬀs is included as
22   Exhibit A.
23
24                                                DEFENDANT
25           13.      Defendant NVIDIA is a Delaware corporation with its principal place of business at
26   2788 San Tomas Expressway, Santa Clara CA 95051.
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1                                  AGENTS AND CO-CONSPIRATORS
2            14.       The unlawful acts alleged against the Defendant in this class action complaint were
3    authorized, ordered, or performed by the Defendant’s respective oﬃcers, agents, employees,
4    representatives, or shareholders while actively engaged in the management, direction, or control of the
5    Defendant’s businesses or aﬀairs. The Defendant’s agents operated under the explicit and apparent
6    authority of their principals. Defendant, and its subsidiaries, aﬃliates, and agents operated as a single
7    unified entity.
8            15.       Various persons or firms not named as defendants may have participated as co-
9    conspirators in the violations alleged herein and may have performed acts and made statements in
10   furtherance thereof. Each acted as the principal, agent, or joint venture of, or for Defendant with
11   respect to the acts, violations, and common course of conduct alleged herein.

12
13                                        FACTUAL ALLEGATIONS
14           16.       NVIDIA is a diversified technology company founded in 1993 that originally focused on
15   computer-graphics hardware and has since expanded to other computationally intensive fields,
16   including software and hardware for training and operating AI software programs.
17           17.       In September 2022, NVIDIA released its NeMo Megatron series of large language

18   models. A large language model (“LLM”) is AI software designed to emit convincingly naturalistic text
19   outputs in response to user prompts.
20           18.       Though an LLM is a software program, it is not created the way most software
21   programs are—that is, by human software programmers writing code. Rather, an LLM is trained by
22   copying an enormous quantity of textual works and then feeding these copies into the model. This
23   corpus of input material is called the training dataset.
24           19.       During training, the LLM copies and ingests each textual work in the training dataset
25   and extracts protected expression from it. The LLM progressively adjusts its output to more closely
26   approximate the protected expression copied from the training dataset. The LLM records the results of
27   this process in a large set of numbers called weights that are stored within the model. These weights are
28   entirely and uniquely derived from the protected expression in the training dataset. For instance, the
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1    NeMo Megatron–GPT 20B language model is so named because the model stores 20 billion (“20B”)
2    weights derived from protected expression in its training dataset.
3           20.     Once the LLM has copied and ingested the textual works in the training dataset and
4    transformed the protected expression into stored weights, the LLM is able to emit convincing
5    simulations of natural written language in response to user prompts. Whenever an LLM generates text
6    output in response to a user prompt, it is performing a computation that relies on these stored weights,
7    with the goal of imitating the protected expression ingested from the training dataset.
8           21.     Much of the material in NVIDIA’s training dataset, however, comes from copyrighted
9    works—including books written by Plaintiﬀs and Class members—that were copied by NVIDIA
10   without consent, without credit, and without compensation.
11          22.     In September 2022, NVIDIA first announced the availability of the NeMo Megatron

12   language models in a video on its website: “For the first time, NVIDIA is making its checkpoints
13   available publicly, where the checkpoints are trained with NeMo Megatron … this is just to begin with.
14   And this is not the end. We will continue to add more checkpoints in the future.”1 In this context
15   “checkpoints” is an alternate term for language models within the NeMo Megatron series. The
16   language models released in September 2022 include NeMo Megatron-GPT 1.3B, NeMo Megatron-
17   GPT 5B, NeMo Megatron-GPT 20B, and NeMo Megatron-T5 3B.

18          23.     Each of the NeMo Megatron models is hosted on a website called Hugging Face, where
19   it has a model card that provides information about the model, including its training dataset. The model
20   card for each of the NeMo Megatron models states that, “The model was trained on ‘The Pile’ dataset
21   prepared by EleutherAI.”2
22
23
24
25   1
      See https://www.nvidia.com/en-us/on-demand/session/gtcfall22-a41200/?nvid=nv-int-tblg-881125,
     starting at 37:25.
26
     2
      See, e.g., https://huggingface.co/nvidia/nemo-megatron-gpt-1.3B#training-data,
27   https://huggingface.co/nvidia/nemo-megatron-gpt-5B#training-data,
     https://huggingface.co/nvidia/nemo-megatron-gpt-20B#training-data,
28   https://huggingface.co/nvidia/nemo-megatron-t5-3B#training-data
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1              24.       The Pile is a training dataset curated by a research organization called EleutherAI. In
2    December 2020, EleutherAI introduced this dataset in a paper called “The Pile: An 800GB Dataset of
3    Diverse Text for Language Modeling”3 (the “EleutherAI Paper”).
4              25.       According to the EleutherAI Paper, one of the components of The Pile is a collection of
5    books called Books3. The EleutherAI Paper reveals that the Books3 dataset comprises 108 gigabytes of
6    data, or approximately 12% of the dataset, making it the third largest component of The Pile by size.
7              26.       The EleutherAI Paper further describes the contents of Books3:
8
9                        Books3 is a dataset of books derived from a copy of the contents of the
                         Bibliotik private tracker … Bibliotik consists of a mix of fiction and
10                       nonfiction books and is almost an order of magnitude larger than our next
11                       largest book dataset (BookCorpus2). We included Bibliotik because

12                       books are invaluable for long-range context modeling research and
                         coherent storytelling.4
13
14             27.       Bibliotik is one of a number of notorious “shadow library” websites that also includes
15   Library Genesis (aka LibGen), Z-Library (aka B-ok), Sci-Hub, and Anna’s Archive. These shadow
16   libraries have long been of interest to the AI-training community because they host and distribute vast
17   quantities of unlicensed copyrighted material. For that reason, these shadow libraries also violate the

18   U.S. Copyright Act.
19             28.       The person who assembled the Books3 dataset, Shawn Presser, has confirmed in public
20   statements that it represents “all of Bibliotik” and contains approximately 196,640 books.
21             29.       Plaintiﬀs’ copyrighted books listed in Exhibit A are among the works in the Books3
22   dataset. Below, these books are referred to as the Infringed Works.
23
24
25
26
27   3
         Available at https://arxiv.org/pdf/2101.00027.pdf
28   4
         Id. at 3–4.
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1             30.     Until October 2023, the Books3 dataset was available from Hugging Face. At that time,
2    the Books3 dataset was removed with a message that it “is defunct and no longer accessible due to
3    reported copyright infringement.”5
4             31.     In sum, NVIDIA has admitted training its NeMo Megatron models on a copy of The
5    Pile dataset. Therefore, NVIDIA necessarily also trained its NeMo Megatron models on a copy of
6    Books3, because Books3 is part of The Pile. Certain books written by Plaintiﬀs are part of Books3—
7    including the Infringed Works—and thus NVIDIA necessarily trained its NeMo Megatron models on
8    one or more copies of the Infringed Works, thereby directly infringing the copyrights of the Plaintiﬀs.
9
10                                         COUNT 1
11                       Direct Copyright Infringement (17 U.S.C. § 501)
                                                against NVIDIA
12
13            32.     Plaintiﬀs incorporate by reference the preceding factual allegations.
14            33.     As the owners of the registered copyrights in the Infringed Works, Plaintiﬀs hold the
15   exclusive rights to those books under 17 U.S.C. § 106.
16            34.     To train the NeMo Megatron language models, NVIDIA copied The Pile dataset. The
17   Pile dataset includes the Books3 dataset, which includes the Infringed Works. NVIDIA made multiple

18   copies of the Books3 dataset while training the NeMo Megatron models.
19            35.     Plaintiﬀs and the Class members never authorized NVIDIA to make copies of their
20   Infringed Works, make derivative works, publicly display copies (or derivative works), or distribute
21   copies (or derivative works). All those rights belong exclusively to Plaintiﬀs under the U.S. Copyright
22   Act.
23            36.     NVIDIA made multiple copies of the Infringed Works during the training of the NeMo
24   Megatron models without Plaintiﬀs’ permission and in violation of their exclusive rights under the
25   Copyright Act. On information and belief, NVIDIA has continued to make copies of the Infringed
26   Works for training other models.
27
28   5
         See https://huggingface.co/datasets/the_pile_books3
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1             37.     Plaintiﬀs have been injured by NVIDIA’s acts of direct copyright infringement.
2    Plaintiﬀs are entitled to statutory damages, actual damages, restitution of profits, and other remedies
3    provided by law.
4
5                                           CLASS ALLEGATIONS
6             38.     The “Class Period” as defined in this Complaint begins on at least March 8, 2021 and
7    runs through the present. Because Plaintiﬀs do not yet know when the unlawful conduct alleged herein
8    began, but believe, on information and belief, that the conduct likely began earlier than March 8, 2021,
9    Plaintiﬀs reserve the right to amend the Class Period to comport with the facts and evidence uncovered
10   during further investigation or through discovery.
11            39.     Class definition. Plaintiﬀs bring this action for damages and injunctive relief as a class

12   action under Federal Rules of Civil Procedure 23(a), 23(b)(2), and 23(b)(3), on behalf of the following
13   Class:
14                    All persons or entities domiciled in the United States that own a
15                    United States copyright in any work that was used as training data for
                      the NeMo Megatron large language models during the Class Period.
16
17            40.     This Class definition excludes:

18                    a.     the Defendant named herein;
19                    b.     any of the Defendant’s co-conspirators;
20                    c.     any of Defendant’s parent companies, subsidiaries, and aﬃliates;
21                    d.     any of Defendant’s oﬃcers, directors, management, employees, subsidiaries,
22                           aﬃliates, or agents;
23                    e.     all governmental entities; and
24                    f.     the judges and chambers staﬀ in this case, as well as any members of their
25                           immediate families.
26            41.     Numerosity. Plaintiﬀs do not know the exact number of members in the Class. This
27   information is in the exclusive control of Defendant. On information and belief, there are at least
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1    thousands of members in the Class geographically dispersed throughout the United States. Therefore,
2    joinder of all members of the Class in the prosecution of this action is impracticable.
3            42.     Typicality. Plaintiﬀs’ claims are typical of the claims of other members of the Class
4    because Plaintiﬀs and all members of the Class were damaged by the same wrongful conduct of
5    Defendant as alleged herein, and the relief sought herein is common to all members of the Class.
6            43.     Adequacy. Plaintiﬀs will fairly and adequately represent the interests of the members of
7    the Class because the Plaintiﬀs have experienced the same harms as the members of the Class and have
8    no conflicts with any other members of the Class. Furthermore, Plaintiﬀs have retained sophisticated
9    and competent counsel who are experienced in prosecuting federal and state class actions, as well as
10   other complex litigation.
11           44.     Commonality and predominance. Numerous questions of law or fact common to each

12   Class member arise from Defendant’s conduct and predominate over any questions aﬀecting the
13   members of the Class individually:
14              a. Whether Defendant violated the copyrights of Plaintiﬀs and the Class when they
15                  obtained copies of Plaintiﬀs’ Infringed Works and used them to train the NeMo
16                  Megatron language models.
17              b. Whether Defendant intended to cause further infringement of the Infringed Works with

18                  the NeMo Megatron models because they have distributed these models under an open
19                  license and advertised those models as a base from which to build further models.
20              c. Whether any aﬃrmative defense excuses Defendant’s conduct.
21              d. Whether any statutes of limitation constrain the potential for recovery for Plaintiﬀs and
22                  the Class.
23           45.     Other class considerations. Defendant has acted on grounds generally applicable to the
24   Class. This class action is superior to alternatives, if any, for the fair and eﬃcient adjudication of this
25   controversy. Prosecuting the claims pleaded herein as a class action will eliminate the possibility of
26   repetitive litigation. There will be no material diﬃculty in the management of this action as a class
27   action. The prosecution of separate actions by individual Class members would create the risk of
28   inconsistent or varying adjudications, establishing incompatible standards of conduct for Defendant.
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1                                      DEMAND FOR JUDGMENT
2           Wherefore, Plaintiﬀs request that the Court enter judgment on their behalf and on behalf of
3    the Class defined herein, by ordering:
4               a) This action may proceed as a class action, with Plaintiﬀs serving as Class
5                   Representatives, and with Plaintiﬀs’ counsel as Class Counsel.
6               b) Judgment in favor of Plaintiﬀs and the Class and against Defendant.
7               c) An award of statutory and other damages under 17 U.S.C. § 504 for violations of the
8                   copyrights of Plaintiﬀs and the Class by Defendant.
9               d) Reasonable attorneys’ fees as available under 17 U.S.C. § 505 or other applicable statute.
10              e) Destruction or other reasonable disposition of all copies Defendant made or used in
11                  violation of the exclusive rights of Plaintiffs and the Class, under 17 U.S.C. § 503(b).

12              f) Pre- and post-judgment interest on the damages awarded to Plaintiﬀs and the Class, and
13                  that such interest be awarded at the highest legal rate from and after the date this class
14                  action complaint is first served on Defendant.
15              g) Defendant is to be financially responsible for the costs and expenses of a Court-
16                  approved notice program through post and media designed to give immediate
17                  notification to the Class.

18              h) Further relief for Plaintiﬀs and the Class as may be just and proper.
19
20                                      JURY TRIAL DEMANDED
21          Under Federal Rule of Civil Procedure 38(b), Plaintiﬀs demand a trial by jury of all the claims
22   asserted in this Complaint so triable.
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1    Dated: March 8, 2024                    By:       /s/ Joseph R. Saveri
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